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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

CISSEY HARVEY                  §
     Plaintiff                 §
                               §                       CIVIL ACTION NO. ________________
                               §
vs.                            §
                               §
UNITED OF OMAHA LIFE           §
INSURANCE COMPANY, LINCOLN §
NATIONAL LIFE INSURANCE        §
COMPANY AND HEARTLAND          §
SECURITY INSURANCE GROUP, INC. §
     Defendants                §

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Cissey Harvey, Plaintiff, and files this her Original Complaint against

Defendants, United of Omaha Life Insurance Company, Lincoln National Life Insurance

Company and Heartland Security Insurance Group, Inc., and for such cause of action would

respectfully show the court as follows:

                                            PARTIES

                                                 I.

       Plaintiff, Cissey Harvey, is an individual residing in and is a citizen of the state of Texas.

                                                 II.

       Defendant, United of Omaha Life Insurance Company, a Mutual of Omaha Company

(MOO), is an insurance carrier doing business in the state of Texas. Defendant, United of Omaha

Life Insurance Company, may be served herein by service upon its registered agent, Corporation

Service Company, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.




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                                                III.

       Defendant, Lincoln National Life Insurance Company (Lincoln), is an insurance carrier

doing business in the state of Texas. Defendant, Lincoln National Life Insurance Company may

be served herein by service upon its registered agent, Corporation Service Company, 211 East 7th

Street, Suite 620, Austin, Texas 78701-3218.

                                                IV.

       Defendant, Heartland Security Insurance Group, Inc. (HSIG), is a Texas corporation.

Defendant, Heartland Security Insurance Group, Inc. may be served herein by service upon its

registered agent for service, Billy E. Hibbs, Jr., 501 Shelley Drive, Tyler, Texas 75701.

                                        JURISDICTION

                                                V.

       Jurisdiction is conferred upon this court by 28 U.S.C. §1331 relating to a federal question

case. This court has original jurisdiction relating to this civil action which includes causes of

action arising under laws of the United States, including the Employee Retirement Income Act of

1974 (ERISA), 29 U.S.C. §1001, et. seq, and pendent jurisdiction over the closely related state

law claims.

                                             VENUE

                                                VI.

       Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §1391(b)(1) and

(2). A substantial part of the events or omissions giving to the claims which are the subject of

this suit occurred in the Eastern District of Texas, Tyler Division. This cause arises out of life

insurance benefits which Defendant, Heartland Security Insurance Group, Inc., (HSIG) agreed to

provide Richard Harvey as a part of his compensation package for services rendered as an


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employee of HSIG. Richard Harvey was employed by HSIG in the Eastern District of Texas,

Tyler Division. Defendant, HSIG, has its principal place of business in the Eastern District of

Texas. HSIG procured the life insurance benefits which were part of an agreed compensation

package due its employee, Richard Harvey, from Defendants Lincoln and MOO. Accordingly,

venue is proper in the Tyler Division of the United States District Court for the Eastern District

of Texas.

                             FACTUAL BASIS FOR COMPLAINT

                                               VII.

       Richard Harvey, deceased, was the husband of Plaintiff, Cissey Harvey. Plaintiff, Cissey

Harvey, is the surviving widow, representative of the estate of Richard Harvey, deceased, and

sole beneficiary of Richard Harvey under the life insurance policies which HSIG promised and

agreed to provide as a part of Richard Harvey’s compensation agreement for services rendered by

Richard Harvey to HSIG.

                                               VIII.

       Richard Harvey began his career with HSIG in 1999 and was actively employed by HSIG

continuously until his death on January 15, 2019. Mr. Harvey was employed as an integral part of

HSIG’s information technology networks communication division. As a part of Mr. Harvey’s

compensation package for the services he rendered as an employee of HSIG, HSIG agreed to

provide Mr. Harvey with life insurance benefits. Accordingly, pursuant to the terms of Mr.

Harvey’s employment agreement with HSIG, HSIG was to provide him with the life insurance

benefits which are the subject of this suit.

                                               IX.

       Pursuant to the employment compensation agreement between Mr. Harvey and HSIG,


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HSIG agreed to provide Mr. Harvey with a group life insurance policy with death benefits of

$243,000.00. In addition, HSIG agreed to provide Mr. Harvey with an option to voluntarily

purchase additional life insurance benefits with death benefits of $75,000.00. Mr. Harvey

exercised this option and personally paid the premiums for the separate, voluntary life policy.

                                                X.

       In 2018, Mr. Harvey became gravely ill and received a terminal diagnosis for cancer. At

all times material hereto, HSIG knew that its employee, Richard Harvey, was ill and would be

dying soon as a result. Accordingly, HSIG knew that the life insurance policies which HSIG

agreed to provide Mr. Harvey as a part of his compensation agreement were very significant and

that Mr. Harvey and his wife and sole beneficiary, Plaintiff, Cissey Harvey, were justifiably

relying upon HSIG to perform, as agreed, and provide the promised life insurance benefits.

                                                XI.

       The very nature of the services rendered by Mr. Harvey to HSIG lent themselves to

remote work. In fact, a significant percentage of the HSIG employees, particularly in Mr.

Harvey’s department, worked remotely. Given the highly skilled services which Mr. Harvey

rendered to HSIG, HSIG agreed to permit, actively supported, encouraged and accommodated

Mr. Harvey to work from home up to and through the date of his death. Even though Mr. Harvey

did not physically come to work at the HSIG offices, HSIG agreed and recognized that Mr.

Harvey was a valuable employee and was permitted to work remotely from home and HSIG

encouraged him to do so. Mr. Harvey relied upon this agreement throughout his employment

with HSIG up through the date of his death. In light of Mr. Harvey’s ability to work remotely,

even though gravely ill, and the fact HSIG could accommodate his disabilities (for HSIG to have

done otherwise would have been potentially a violation of the Americans with Disabilities Act as


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well as the Texas Labor Code), Mr. Harvey continued to provide valuable services to HSIG. At

all times material hereto, HSIG agreed and recognized that Mr. Harvey was actively employed

even though he was working remotely. Mr. Harvey’s active employment continued up to and

through the date of his death on January 15, 2019.

                                                XII.

       Mr. Harvey knew he was going to die. He returned home from his last hospitalization in

late December, 2018 and tried to make his last days as normal as possible. Although facing

death, Mr. Harvey continued to be loyal to HSIG as they had been to him. Mr. Harvey’s

dedication and loyalty to HSIG included focusing on work issues, assisting his co-workers,

delegating responsibilities and responding to questions from HSIG regarding work issues. Mr.

Harvey thereby felt useful and he was able to provide his co-workers with the benefit of his

experience and expertise. This was very important to both Mr. Harvey and HSIG since it allowed

Mr. Harvey to focus on something other than simply sitting there waiting to die and HSIG to

have the benefit of his services and expertise. The value of the services rendered by Mr. Harvey

were something which was clearly recognized and appreciated by HSIG, the executives of HSIG,

his supervisors, co-workers and wife, Plaintiff, Cissey Harvey. HSIG agreed that Mr. Harvey was

to and did in fact remain on the HSIG payroll and was therefore entitled to receive his full

compensation for the services he rendered through his active employment up to and through the

date of his death, including but not limited to the agreed upon life insurance benefits.

                                                XIII.

       In 2018, the life insurance benefits HSIG agreed to provide to Mr. Harvey were covered

by policies issued by Defendant, Lincoln. Plaintiff, Cissey Harvey, was the beneficiary of the

Lincoln policies. Effective January 1, 2019, HSIG chose to change carriers and switched the


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agreed upon life insurance benefits provided to Mr. Harvey to Defendant, MOO. Plaintiff, Cissey

Harvey, was the beneficiary of the MOO policies.

                                               XIV.

       HSIG knew that Mr. Harvey was gravely ill, had received a terminal diagnosis for cancer

and would die soon. Accordingly, HSIG knew that as the sole beneficiary, Plaintiff, Cissey

Harvey, would need and was relying upon the death benefits which HSIG has agreed to provide

as a part of her husband’s compensation package.

                                               XV.

       HSIG consists of a family of companies including a national insurance agency, worker’s

compensation carrier and insurance adjusting firms. HSIG had significant expertise in the

insurance business. HSIG agreed and represented to its employee, Richard Harvey, and his wife,

Plaintiff, Cissey Harvey, that HSIG would utilize that expertise to maintain and preserve the life

insurance coverage it had agreed to provide to Mr. Harvey and provide Mr. Harvey and his wife,

Plaintiff, Cissey Harvey, with recommendations and guidance with regard to such coverage,

including notifying Mr. and Mrs. Harvey of any benefits to which they were entitled and

completing any forms or applications for such benefits. Mr. Harvey and Plaintiff, Cissey Harvey,

justifiably relied upon HSIG’s expertise to maintain and preserve the life insurance benefits in

force, particularly in light of Mr. Harvey’s terminal diagnosis and imminent death, notify them of

benefits and complete any forms or applications for such benefits.

                                               XVI.

       Pursuant to the employment agreement between HSIG and Mr. Harvey, HSIG agreed to

use its expertise and services to maintain the agreed upon life insurance benefits in full force and

effect. It was HSIG’s choice to transition coverage from Lincoln to MOO. That transition was


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motivated by HSIG’s desire to reduce its costs. However, HSIG agreed and was obligated to

effectuate that transition in such a manner that it would preserve and maintain the life insurance

benefits which it had agreed to provide Mr. Harvey as a part of his compensation for services

rendered. HSIG was in the best position and had the expertise to advise Mr. and Mrs. Harvey on

the impact the transition from Lincoln to MOO would trigger, if any on the agreed life insurance

benefits.

                                              XVII.

        Prior to Mr. Harvey’s death on January 15, 2019, neither Mr. Harvey nor Plaintiff, Cissey

Harvey, were provided any recommendations, guidance, applications or forms by HSIG to

convert the Lincoln life insurance policies. Although Mr. Harvey had received a terminal

diagnosis and HSIG knew that Mr. Harvey had received such diagnosis, HSIG did not provide

any recommendations, guidance, applications or forms to either Mr. Harvey or his wife, Plaintiff,

Cissey Harvey, to apply for accelerated benefits with Lincoln to which he would have been

entitled.

                                             XVIII.

        At all times material hereto, HSIG represented to Mr. Harvey and his wife, Plaintiff,

Cissey Harvey, that HSIG, as the plan sponsor and plan administrator, considered Mr. Harvey to

be actively employed and eligible for the continuation of the life insurance benefits which it had

agreed to provide to Mr. Harvey as HSIG transitioned the insurance policies provider from

Lincoln to MOO.

                                              XIX.

        HSIG, as the plan sponsor and plan administrator, failed to provide any information,

notice or communication to Mr. Harvey and his wife, Plaintiff, Cissey Harvey, with regard to or


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to alert them to any problem or uncertainty regarding maintaining eligibility for and preserving

coverage under the life insurance benefits as a result of the transition from Lincoln to MOO.

                                               XX.

       According to Defendants Lincoln and MOO, HSIG, as the plan sponsor and plan

administrator, failed to properly handle the records, forms and transition from Lincoln to MOO

for the life insurance benefits, specifically failing to maintain the life insurance coverage which

HSIG had agreed to provide to Mr. Harvey. According to Defendants Lincoln and MOO, HSIG

failed to preserve the continuity of the life insurance coverage. According to Defendants Lincoln

and MOO, HSIG failed to transition from one carrier to the other in such a manner so that the

benefits to which Mr. Harvey and his beneficiary, Plaintiff, Cissey Harvey, were and would be

entitled to upon his death were preserved.

                                              XXI.

       On January 15, 2019, Richard Harvey died.



                                              XXII.

       Continuing with its assumption of responsibility for presenting recommendations,

guidance, completing the applications and forms for benefits to Richard Harvey and his

beneficiary, Plaintiff, Cissey Harvey, HSIG represented to Plaintiff, Cissey Harvey, that HSIG, as

the plan sponsor and plan administrator, would and did, in fact, prepare, complete, and present

the claim applications for the agreed upon life insurance benefits to Plaintiff, Cissey Harvey, as

the sole beneficiary of her deceased husband, Richard Harvey. HSIG prepared and completed the

insurance claim forms, presented the same to Plaintiff, Cissey Harvey, for her signature, with

instructions that Plaintiff, Cissey Harvey, return the same to HSIG which would then file them


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with Lincoln and MOO on her behalf. On behalf of Plaintiff, Cissey Harvey, HSIG submitted

claims for the life insurance benefits to both Defendant Lincoln and Defendant MOO. Both life

insurance carriers have denied Plaintiff, Cissey Harvey’s, claim for the life insurance benefits.

                                               XXIII.

       In addition to the claim applications for the life insurance benefits, HSIG, as the plan

sponsor and plan administrator, also prepared, completed and presented to Plaintiff, Cissey

Harvey, an application to convert the Lincoln policy and an application for accelerated benefits

under the Lincoln policy for her signature. Under the terms of the Lincoln policy, Plaintiff,

Cissey Harvey, was entitled to convert the policy. In addition, under the terms of the Lincoln

policy, Plaintiff, Cissey Harvey, and her husband, Richard Harvey, were entitled to claim

accelerated benefits under the Lincoln policy as a result of his terminal diagnosis. HSIG did not

prepare, complete or present any application to convert the Lincoln policy or to apply for

accelerated benefits under the Lincoln policy to Plaintiff, Cissey Harvey, until after Richard

Harvey’s death.



                                               XXIV.

       HSIG is the plan sponsor and plan administrator for the employment benefits plan which

includes the life insurance benefits which are the subject of this suit.

                                                XXV.

       Defendant Lincoln denied Plaintiff, Cissey Harvey’s, claim for life insurance benefits

alleging that both policies of insurance, the group policy with death benefits of $243,000.00 and

voluntary supplemental policy with death benefits of $75,000.00, had been terminated by HSIG

effective December 31, 2018 and were no longer in effect on the date of Richard Harvey’s death,


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January 15, 2019. In addition, Defendant Lincoln claimed that HSIG, as the plan sponsor and

plan administrator, had not timely filed the application to convert the hereinabove described

policies and application for accelerated benefits to which Mr. Harvey and Plaintiff, Cissey

Harvey, were entitled in light of Mr. Harvey’s terminal diagnosis.

                                              XXVI.

       At no time during the transition of these policies from Defendant Lincoln to Defendant

MOO prior to Mr. Harvey’s death, did HSIG, as the plan sponsor and plan administrator, advise

Richard Harvey or his wife, Plaintiff, Cissey Harvey, of any recommendation or need to make

any application to convert the Lincoln policies, for accelerated benefits under the Lincoln

policies or alert or warn either Richard Harvey or his wife, Plaintiff, Cissey Harvey, of any threat

to the agreed upon life insurance coverage as a result of the transition from Lincoln to MOO. To

the contrary, HSIG continued to represent to Richard Harvey and Plaintiff, Cissey Harvey, that

Mr. Harvey continued to be eligible for and covered under the hereinabove described life

insurance policies pursuant to his agreed upon employment compensation package through the

switch or transition from Lincoln to MOO.



                                              XXVII.

       Defendant Lincoln has alleged that Defendant MOO was responsible for payment of the

hereinabove described life insurance benefits.

                                             XXVIII.

       Defendant MOO has denied Plaintiff, Cissey Harvey’s, claims for life insurance benefits,

alleging that her husband, Richard Harvey, was not eligible for the life insurance benefits

because he was not actively employed by HSIG when the policy became effective on January 1,


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2019. Defendant MOO has further claimed that at no time from January 1, 2019 to the date of his

death, January 15, 2019, did Richard Harvey become actively employed by HSIG.

                                             XXIX.

       Defendant MOO’s claim that Richard Harvey was not actively employed had no basis in

fact. To the contrary, HSIG, as the plan sponsor and plan administrator, determined that Mr.

Harvey was actively employed and so informed MOO. In support of that determination, HSIG, as

plan administrator, provided Defendant MOO with phone and work records, emails and sworn

declarations from his supervisor and co-workers describing in detail the services rendered by Mr.

Harvey in the course of his active employment during the time period from January 1, 2019 to

the date of his death. In addition, HSIG provided documentation from its CEO, Human Resource

Vice President, and Mr. Harvey’s supervisor confirming that HSIG considered Mr. Harvey to be

actively employed, had agreed that he could work remotely from home and that the services he

rendered from home were performed with the encouragement, agreement and acceptance of

HSIG. Accordingly, the documentation provided by HSIG to MOO confirmed that as the plan

administrator, HSIG had a reasonable basis to determine and conclude that Richard Harvey was

actively employed, eligible for and entitled to the hereinabove described life insurance benefits

including the group policy with benefits of $243,000.00 and voluntary supplemental policy with

death benefits $75,000.00.

                                             XXX.

       In addition, HSIG provided Defendant MOO with documentation wherein Defendant

MOO had confirmed and represented to HSIG, prior to Mr. Harvey’s death, that all of HSIG’s

employees, including Richard Harvey, would be covered by the hereinabove described life

insurance policies as an inducement to effectuate the switch from Lincoln to MOO.


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                                               XXXI.

       In spite of the hereinabove described determination by HSIG, the plan sponsor and

administrator, and supporting evidence, Defendant MOO wrongfully denied Plaintiff, Cissey

Harvey’s, claim for life insurance benefits.

                                               XXXII.

        In addition, Defendant MOO claimed that the benefits should have been paid by

Defendant Lincoln.

                                               XXXIII.

       At all times material hereto, Defendants, Lincoln and MOO, were operating under a

conflict of interest. Specifically, both Defendants, Lincoln and MOO, had the dual role of

insurers and claims payers and therefore had an actual conflict of interest.

                                               XXXIV.

       As a result of Defendants’ hereinabove described wrongful conduct, the life insurance

benefits to which Plaintiff, Cissey Harvey, is entitled have yet to be paid.

                                               XXXV.

       All conditions precedent to the prosecution of this action as to Defendants have been

satisfied as Plaintiff has made claims for benefits, was denied the benefits by Defendants and has

appealed their denial decisions. Plaintiff has exhausted all her remedies pursuant to ERISA and

the plan provided by HSIG.

                                      CAUSES OF ACTION

                                               XXXVI.

       The conduct of Defendant HSIG, individually and as the plan sponsor and plan

administrator, constituted negligence for its failure to exercise ordinary care in the maintenance


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and administration of the life insurance benefits which it had agreed and promised to provide to

Richard Harvey. The negligence of Defendant HSIG included, but is not limited to the following:

       A)     Failing to provide information and documentation to Mr. Harvey his wife,

       Plaintiff, Cissey Harvey, with respect to maintaining eligibility for the life insurance

       benefits which HSIG agreed to provide to Mr. Harvey as part of his compensation

       package;

       B)     Failing to properly handle the records, forms and transition from Lincoln to MOO

       for the life insurance policies, specifically failing to maintain the coverage which HSIG

       had agreed to provide to Mr. Harvey and to which Mr. Harvey and his wife,

       Plaintiff, Cissey Harvey, were entitled;

       C)     Failing to preserve the continuity of coverage for Mr. Harvey, particularly in light

       of his imminent death; and

       D)     Failing to transition from carrier to another in such a manner so that the benefits

       which HSIG had agreed and promised to provide to Mr. Harvey and his wife, Plaintiff,

       Cissey Harvey, were preserved.

                                            XXXVII.

       Defendant, HSIG undertook to render services to Richard Harvey and his wife, Plaintiff,

Cissey Harvey, in connection with recommending, guiding, providing and maintaining the

hereinabove described life insurance coverage, including but not limited to timely and properly

notifying the Harveys of benefits and preparing claim forms for any benefits to which Richard

Harvey and Plaintiff, Cissey Harvey, were entitled. Accordingly, Defendant, HSIG, had a duty to

exercise reasonable care in performing such undertakings. The hereinabove described conduct of

Defendant, HSIG, breached its duty of ordinary care and constituted negligence.


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                                            XXXVIII.

       The conduct of Defendants constituted breach of contract.

                                             XXXIX.

       The conduct of Defendants constituted a breach of their fiduciary duty to Plaintiff, Cissey

Harvey.

                                               XL.

       Defendant Lincoln had no reasonable basis to deny the claim for life insurance benefits,

application to convert the Lincoln policy or claim for accelerated benefits by or on behalf of

Plaintiff, Cissey Harvey.

                                               XLI.

       Defendant MOO had no reasonable basis to deny the claim for life insurance benefits by

Plaintiff, Cissey Harvey.

                                              XLII.

       The decision by Defendant, Lincoln, to deny the claim for life insurance benefits,

application to convert the Lincoln policy and claim for accelerated benefits by or on behalf of

Plaintiff, Cissey Harvey, was arbitrary and capricious.

                                              XLIII.

          The decision by Defendant, MOO, to deny the claim for life insurance benefits of

Plaintiff, Cissey Harvey, was arbitrary and capricious.

                                              XLIV.

       The determination of the plan sponsor and plan administrator that Richard Harvey was

actively employed and therefore eligible for coverage under the policies of insurance issued by

Defendant MOO was factually correct, supported substantial evidence, was not capricious or


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arbitrary and did not constitute an abuse of discretion. Therefore, Defendant, MOO, had no legal

or factual basis to ignore or overrule the determination by the plan sponsor and plan

administrator and deny the claim for life insurance benefits of Plaintiff, Cissey Harvey.

                                               XLV.

       The hereinabove wrongful conduct of Defendants was a resulting, producing and

proximate cause of the actual damages of Plaintiff, Cissey Harvey.

                            DAMAGES AND CLAIMS FOR RELIEF

                                              XLVI.

       Accordingly, Plaintiff, Cissey Harvey, is entitled to recover of and from Defendants the

death benefits pursuant the group policy in the amount of $243,000.00 and death benefits

pursuant to the supplemental voluntary policy in the amount of $75,000.00.

                                              XLVII.

       Plaintiff, Cissey Harvey, is further entitled to recover from Defendants, pre-judgment and

post-judgment interest for which she seeks recovery.

                                             XLVIII.

       Plaintiff, Cissey Harvey, is further entitled to recover from Defendants 18% interest

pursuant to Sec. 542.060, Texas Insurance Code.

                                              XLIX.

       Plaintiff, Cissey Harvey, is further entitled to recover from Defendants the reasonable and

necessary attorney fees which she had incurred for the prosecution of this cause.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Cissey Harvey, prays that

Defendants be cited to appear herein and upon final trial hereof that she recover of and from

Defendants, jointly and severally, her actual damages, including the death benefits due under the


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above described life insurance policies, pre-judgment interest, post-judgement interest, statutory

interest of 18% pursuant to Sec. 542.060, Texas Insurance Code, reasonable and necessary

attorney fees, costs of court and such other and further relief to which Plaintiff, Cissey Harvey,

may show herself justly entitled.


                                             Respectfully submitted,

                                             EWERT LAW FIRM
                                             6655 Oak Hill Blvd
                                             Tyler, Texas 75701
                                             Telephone: 903.581.5000
                                             Facsimile: 903.581.5557
                                             chris@ewertlawfirm.com

                                             By: /s/ Christopher J. Ewert
                                                    Christopher J. Ewert
                                                    State Bar No. 06754200

                                             ATTORNEY FOR PLAINTIFF




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